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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION



BRUCE N. SAFFRAN, M.D., Ph.D.  §
                               §
Plaintiff,                     §
                               § Civil Action No. 2:05cv547-TJW
                     v.        §
                               § Jury
BOSTON SCIENTIFIC CORPORATION, §
a Delaware Corporation,        §
                               §
Defendant.                     §


                                DEFENDANT’S TRIAL WITNESS LIST


         A.       WITNESSES EXPECTED TO BE CALLED AT TRIAL1

                  1.       William H. Kucheman (in person)
                           Senior Vice President and Group President, Interventional Cardiology,
                           Boston Scientific Corporation

                  2.       Scott T. Bluni, Esq. (in person and/or by video deposition)
                           Former Vice President and Chief Patent Counsel, Cardiovascular, Boston
                           Scientific Corporation

                  3.       Dr. James J. Barry (in person)
                           Senior Vice President, Corporate Technology Development, Boston
                           Scientific Corporation

                  4.       Dr. Bruce N. Saffran (in person and/or by video deposition)
                           Plaintiff

                  5.       Vishva Dev, M.D. (in person)
                           Director, Cardiology
                           Los Robles Hospital
                           Thousand Oaks, CA


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         Boston Scientific reserves the right to amend this list to include witnesses whose depositions are taken after
the service date of this witness list
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           6.    Thomas L. Lambert, M.D. (in person)
                 Las Vegas, Nevada

           7.    Dr. Harold B. Hopfenberg (in person)
                 Expert for Boston Scientific Corporation

           8.    Dr. Abram Charles Rabinowitz (in person)
                 Expert for Boston Scientific Corporation

           9.    James T. Davis (in person)
                 Expert for Boston Scientific Corporation

           10.   Kevin Faulkner (in person)
                 Expert for Boston Scientific Corporation


     B.    WITNESSES WHO MAY BE CALLED AT TRIAL

           11.   Gidon D. Stern, Esq. (in person)
                 Attorney, Jones Day

           12.   Doug Godshall (in person and/or by video deposition)
                 President and CEO, Heartware, Inc, formerly President of Vascular
                 Surgery, Boston Scientific Corporation

           13.   S. Nahum Goldberg (in person and/or by video deposition)
                 Associate Professor, Harvard Medical School
                 Director of Abdominal Radiology and Intervention, Beth Israel Deaconess
                 Hospital

           14.   Zalman Jacobs (in person and/or by video deposition)
                 Leucadia National Corporation




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Respectfully submitted,

                                   BOSTON SCIENTIFIC CORPORATION
                                   By its attorneys,


November 7, 2007
                                   __________/s/________________________
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                                    CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). As such, this notice was served on all counsel who have consented
to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P. 5(d) and Local Rule CV-
5(e), all other counsel of record not deemed to have consented to electronic service were served with a
true and correct copy of the foregoing by certified mail, return receipt requested, on this the 7th day of
November 2007.

                                                          /s/
                                                         Melissa Smith




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